         Case 1:20-cr-00330-AJN Document 128 Filed 01/28/21 Page 1 of 2


                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                       January 28, 2021

BY ECF & ELECTRONIC MAIL

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:       United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to the Court’s order dated
January 26, 2021 providing the Government with an opportunity to respond to the defendant’s
proposed redactions to its pre-trial motions filed on January 25, 2021. The Government notes at
the outset that the defendant has not proposed any redactions to certain motions filed on the docket.
(Motions 5, 8, 9, & 12; Dkts. 119-126). The Government agrees that no redactions are necessary
as to those particular motions. The Government agrees with the defendant’s proposed redactions
to the remaining pre-trial motions for the following reasons:

                The proposed redactions to the defendant’s motion to dismiss for breach of the non-
                 prosecution agreement (Motion 1) and the motion to dismiss for pre-indictment
                 delay (Motion 7) refer to documents designated by the Government as
                 “Confidential” within the meaning of the Protective Order in this case (see
                 Protective Order ¶ 15 (Dkt. 36)), and the proposed redactions are narrowly tailored
                 to protect the integrity of the Government’s ongoing investigation. See, e.g.,
                 Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218 n.9 (1979) (“Since
                 the 17th century, grand jury proceedings have been closed to the public; and records
                 of such proceedings have been kept from the public eye. The rule of grand jury
                 secrecy . . . is an integral part of our criminal justice system.”).
                The proposed redactions to the defendant’s motion to dismiss Counts One through
                 Four of the Superseding Indictment as time-barred (Motion 2) and her motion to
                 strike surplusage from the Superseding Indictment (Motion 6) protect the privacy
                 interests of victim-witnesses.
                The proposed redactions to the motion to dismiss Counts Five and Six (Motion 4)
                 refer to documents designated by the Government as “Confidential” within the
         Case 1:20-cr-00330-AJN Document 128 Filed 01/28/21 Page 2 of 2

 Honorable Alison J. Nathan
 January 28, 2021
 Page 2


               meaning of the Protective Order in this case, and relate to third-party privacy
               interests or materials that remain sealed in the civil proceeding.
              The proposed redactions to the defendant’s motion for a bill of particulars and
               pretrial disclosures (Motion 10) protect the privacy interests of victim-witnesses
               and protect the integrity of the Government’s ongoing investigation.
              The proposed redactions to the defendant’s motion to suppress under the Fourth
               and Fifth Amendments (Motion 11) are narrowly tailored to protect the integrity of
               the Government’s ongoing investigation.

         In addition, the Government has no objection to the defendant’s proposed redactions to her
motion to suppress under the Due Process Clause (Motion 3) as the proposed redactions are
narrowly tailored to protect the Government’s ongoing investigation. The Government
respectfully submits that a limited number of additional redactions would be appropriate with
respect to Motion 3 in order to be consistent with the other redactions proposed by the defendant
in that particular motion. The Government will submit those additional proposed redactions under
seal by email.


                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney


                                             By:       s/
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                                                   Lara Pomerantz / Andrew Rohrbach
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Cc:    All counsel of record, by email
